Case: 1:17-md-02804-DAP Doc #: 1934-1 Filed: 07/22/19 1 of 12. PageID #: 98908




                              EXHIBIT 2
  6/25/2019    Case: 1:17-md-02804-DAP             Doc Guideline
                          Transcript for CDC Telebriefing: #: 1934-1    Filed: Opioids
                                                                 for Prescribing 07/22/19      2 of
                                                                                       for Chronic    12.
                                                                                                   Pain     PageID
                                                                                                        | CDC          #: 98909
                                                                                                              Online Newsroom | CDC




      Transcript for CDC Telebriefing: Guideline for Prescribing Opioids for
                                  Chronic Pain

This website is archived for historical purposes and is no longer being maintained or updated.

 Press Brieﬁng Transcript

  Tuesday, March 15, 2016, 12:30am EST

    Audio recording             [MP3, 7.2 MB]

  Please Note:This transcript is not edited and may contain errors.



OPERATOR: Good afternoon, everyone. Thank you for standing by. Please continue holding, our conference will
begin momentarily. Thank you all for standing by. Please continue holding. We will begin our conference
momentarily.

OPERATOR good morning. Thank you for all standing by. Welcome to today’s conference call. At this time, all lines
are on listen only mode for today’s conference. Until the question and answer portion of our call at which time
you’ll be prompted to press star 1 on your touch tone phone. Please limit yourself to one question and one follow-
up during the Q and A portion of the call, please be sure to announce your name. Our conference is being recorded,
if you have any objections you may disconnect at this time. I will now turn the conference over to your host Mrs.
Kathy Harben. Ma’am you may proceed.

KATHY HARBEN: Thank you, Jill. Thank you all for joining us for the release of the CDC guideline for prescribing
opioids for chronic pain. We’re joined today by CDC Director by Dr.Tom Frieden. Dr.Debra Houry who is Director of
CDC’s National Center for Injury Prevention and Control, and Dr.Deborah Dowell, co-author of the guideline are
here for the question and answer session. In addition, we welcome the Secretary Of Health And Human Services
Sylvia Mathews Burwell for opening remarks. I’ll now turn the call over to Dr.Frieden to introduce Secretary
Burwell.

DR. FRIEDEN: Thank you and good afternoon. We’re delighted that secretary Burwell could join us today. One year
ago in march 2015 secretary Burwell announced HHS initiative to reduce the prescription opioid and heroin
related overdose death and dependence. Secretary Burwell understands well the devastation that opioid abuse
and overdose has caused for American families and communities and has helped to bring together stakeholders
from across the country to focus on prevention, treatment and intervention. Secretary Burwell.

SECRETARY BURWELL: Thank you so much, Dr.Frieden. The opioid epidemic is one of the most pressing public
health issues in the United States today. Last year, more Americans died from drug overdoses than car crashes. And
these overdoses have hit families across our entire nation. Families who live on city blocks and families who live in
  https://www.cdc.gov/media/releases/2016/t0315-prescribing-opioids-guidelines.html                                                   1/11
rural towns. Case:
  6/25/2019         1:17-md-02804-DAP
             In my own  home    state of WestDoc
                         Transcript for CDC Telebriefing: #: 1934-1
                                                          Guideline
                                                    Virginia     I have    Filed:ﬁrsthand
                                                                    for Prescribing
                                                                          seen       07/22/19
                                                                                    Opioids
                                                                                                and3continue
                                                                                            for Chronicof  12.
                                                                                                        Pain     PageID
                                                                                                             | CDC          #: 98910
                                                                                                                   Online Newsroom
                                                                                                                   to see ﬁrsthand | CDC
                                                                                                                                       how
substance use can devastate families and communities. Combatting the opioid epidemic is a national priority. That’s
why the President’s budget requests more than $1 billion to ﬁght opioid use disorder and overdose, and we look
forward to working with the congress to secure this funding. It’s why governors throughout the nation are working
from common ground to end this crisis. And it’s why public health leaders across the country are ﬁnding innovative
ways to push back against these troubling statistics and what it means to people in their everyday lives. At HHS,
we’re helping to lead the nationwide effort by focusing on three priority areas. First, we want to make sure that
naloxone is in the hands of ﬁrst responders and anyone else who responds to an opioid overdose.

In November, the FDA approved a nasal form of Naloxone, one of the more innovative ways to get this treatment to
the people who need it most. We’re also expanding access to evidence-based treatments like medication -assisted
treatment. A combination of behavioral therapy and counseling with medication to treat substance use disorders.
And last week, we awarded $94 million to medication-assisted treatment in 271 health centers across the country.
Third, what brings us here today is our commitment to equip health professionals with tools they need to ﬁght this
epidemic. We need to help primary care providers make the most informed prescribing decision. Balancing the
need to manage their patient’s chronic pain with the duty to curb dangerous prescribing practices. That’s why CDC
is releasing their guideline for prescribing opioids for chronic pain. We believe this guideline will help health care
professionals provide safer and more effective care for patients dealing with chronic pain. And we also believe it
will help these providers draw down the rates of opioid use disorder, overdose and sadly, ultimately death. We
know this is a goal that we all share. Patients with chronic pain should have safe and effective pain management.
And too many families have had to come to grips with the tragedy of opioid use disorder and overdose. The
guideline CDC is releasing today will provide safer pain management while helping us reduce opioid abuse. It’s an
important step in our work to combat the opioid epidemic. With that, I’ll turn it back to Dr.Frieden.

DR. FRIEDEN: Thank you so much, Secretary Burwell. It’s become increasingly clear that opioids carry substantial
risks, but only uncertain beneﬁts, especially compared with other treatments for chronic pain. Today and every day
this year, more than 40 Americans will die from a prescription opioid overdose in this country. Beginning treatment
with an opioid is a momentous decision. And it should only be done with full understanding by both the clinician
and the patient of the substantial risks and uncertain beneﬁts involved. We know of no other medication that’s
routinely used for a nonfatal condition that kills patients so frequently. With nearly 250 million prescriptions
written each year, it’s so important that doctors understand that any one of those prescriptions could potentially
end a patient’s life. A study in 2015 found that 1 out of every 550 patients started on long-term opioid therapy for
non-cancer pain died of an opioid-related cause, just a little over– within 21/2 years of the ﬁrst prescription.
Remarkably those who got the highest doses of opioids, more than 200 MMEs per day had a 1 in 32 chance of dying
in just 21/2 years. And while some opioids potentially Buprenorphine and others may carry a slightly lower risk of
dependence, almost all the opioids on the market are just as addictive as heroin. And while it’s important that abuse
deterrent formulations be made more widely available because those formulations are harder to melt down and
then inject, they don’t prevent opioid abuse or overdose when taken by mouth. The bottom line is that increased
prescribing of opioids which has quadrupled since 1999 is fueling an epidemic that’s now a blurring of the lines
between prescription opioids and illicit opioids. I want to be clear that prescription opioids have an important place
in pain management when the potential beneﬁts outweigh the potential harm. Many Americans use prescription
opioids for much needed relief from pain. And evidence support that opioids can be effective in the short term.
   https://www.cdc.gov/media/releases/2016/t0315-prescribing-opioids-guidelines.html                                                         2/11
  6/25/2019
They’re     Case: medications,
         important 1:17-md-02804-DAPfor example, Doc
                        Transcript for CDC Telebriefing: #:patients
                                                             1934-1
                                                      forGuideline        Filed:
                                                                   for Prescribing
                                                                        after       07/22/19
                                                                                   Opioids
                                                                                cancer             4 of
                                                                                           for Chronic
                                                                                          treatment       12.
                                                                                                       Pain
                                                                                                         or     PageID
                                                                                                            | CDC
                                                                                                                       end#:of98911
                                                                                                                  Online Newsroom
                                                                                                              getting           life| CDC
                                                                                                                                       or palliative
care. But we don’t have evidence to show that opioids can control chronic pain effectively over the long term. And
we do have evidence that other treatment such as exercise therapy, nonsteroidal inﬂammatory drugs and a variety
of other treatments and modalities can be effective for chronic pain with far lower risks. That’s why today CDC is
releasing the CDC Guideline for Prescribing Opioids for Chronic Pain. To chart a safer, more effective course. The
goal of the new guideline is to help providers improve patient care and safety and prevent opioid overdose. The
guideline reﬂects the best available research to date and will reﬁne the guidance as new science becomes available.
But the ongoing impact of prescription overdoses and effect on American lives, families and communities means
that we have to act now. The guideline was developed to support primary care clinicians who prescribe about half
of all opioid pain medications in relieving patient’s pain, preventing patient’s suffering, and promoting patient’s
well-being. This guideline helps by offering a ﬂexible tool. Not a one size ﬁts all tool but a ﬂexible tool to support
informed clinical decision making, encourage improved communication between clinicians and patients and
improve clinician conﬁdence about when and how to use opioids to manage chronic pain. The guideline provides
information about safer and effective options for pain management and encourages clinicians to work with other
providers, including behavioral health specialists, pharmacists and pain management specialists. The guideline is
intended to address chronic pain, not acute pain. But we recognize based on the feedback we got from doctors and
others that long-term opioid use often begins with treatment of acute pain and the guideline suggests that
clinicians prescribe the lowest effective dose of immediate release opioids when treating a patient with acute pain
and not prescribe more than is needed. Three days or less will often be sufﬁcient. More than seven days will rarely
be needed for most acute pain syndromes.

The guideline is designed to help clinicians and patients together assess the risks and beneﬁts of opioid use and
identify the best treatment option. We work to develop a practical guideline with tools and resources, including a
decision checklist, to help clinicians use the guideline every day. We want patients to understand the
recommendations, so we created resources and materials for patients as well. The guideline has 12
recommendations based on three key principles. First, non-opioid therapy is preferred for chronic pain outside of
active cancer, palliative and end of life care. Opioids should not be the ﬁrst line treatment for chronic pain. They
should only be used when their beneﬁts are expected to outweigh their substantial risks. Second, when opioids are
used start low and go slow. Start with the lowest possible effective dose and increase only gradually. Third, always
use caution when prescribing opioids and monitor every patient closely. Clinicians can minimize the risk to patients
by taking actions such as checking the state’s prescription drug monitoring program or having a plan to taper
opioids if the desired response is not achieved.

I want to spend a moment talking about the process of guideline production and preparation. CDC developed this
guideline using a transparent, rigorous, scientiﬁc process. We obtained the best available evidence from anywhere
in the published literature. We also involved more than 50 of the top experts in the world on various aspects of pain
addiction and pain management to review the guidelines. We carefully read and considered more than 4,300 public
comments, including letters from more than 160 professional, community and advocacy organizations and many
individuals whose lives have been deeply touched by this issue. In the end, these are CDC guidelines. Written by
CDC staff and CDC stands by them. In the feedback that we heard, we understood the importance of balancing the
expected beneﬁts and risks, and how challenging that can be. Primary care clinicians reported concerns about
training and other modalities for pain management. Clinicians and patients need to carefully weigh the decision to
   https://www.cdc.gov/media/releases/2016/t0315-prescribing-opioids-guidelines.html                                                           3/11
start  opioidsCase:
   6/25/2019        1:17-md-02804-DAP
              and proceed  only when there’s      Doc
                         Transcript for CDC Telebriefing: #: understanding
                                                      a full  1934-1
                                                          Guideline        Filed: Opioids
                                                                    for Prescribing  07/22/19
                                                                                    of theforrisks.5And
                                                                                               Chronicof  12.
                                                                                                       Pain     PageID
                                                                                                            | CDC
                                                                                                           that            #: 98912
                                                                                                                  Online Newsroom
                                                                                                                 the  beneﬁts     | CDC
                                                                                                                                are  likely to
outweigh the risks. Plainly stated, the risks of opioids are addictions and death and the beneﬁts for chronic pain are
often transient and generally unproven. In fact, some of the literature that was shared to us in the comment phase,
outlined studies that suggests that individuals treated with opioids may actually experience more pain in the
medium and long term than patients not treated with opioids because of potentiation of pain. Management of
chronic pain is an art and a science. The science of pioids for chronic patient is clear. For the majority of patients
there are effective alternatives to the known serious and all too often fatal risks of opioids.

KATHY HARBEN: Thank you, Dr.Frieden. Jill, we are now ready for questions.

>> Thank you, Mrs. Harben. Once again, if you’d like to ask a question, please press star 1 on your touch tone phone.
Please be sure to release your line so you can record your name so that i may introduce you. Also a reminder, please
limit yourself to one question and one follow-up. Our ﬁrst question is from Melanie Saltzman with News Hour. Your
line is open, ma’am.

MELANIE SALTZMAN: Hello, can you hear me?

DR. FRIEDEN: yes, we can.

MELANIE SALTZMAN: hi, thanks for taking my question. My question is with regards to the process. I know you
just addressed that but I’d like to dive in more for a minute. Why was the process so complicated in being able to
come up with a concrete, comprehensive set of guidelines? What went into that and why did it take more than just
a week or two weeks to really get those concrete 12 points?

DR. FRIEDEN: i think there are several factors that go into the process. The ﬁrst is that the evidence on treatment
of chronic pain is not as robust as we would like. There are a limited number of studies that have looked at the
effectiveness for long-term pain. And those studies have generally not found effective– positive outcomes in terms
of improvement in functioning or reduction in pain in the long term. Also in the process, it’s been very important
that we involve a broad range of stakeholders so that we can get perspectives from patients, from families, from
clinicians. And then accommodate and address the concerns that we have heard. So there’s– there has been both
the need to make decisions based on the best available science and also the need to have an inclusive process of
getting a wide range of comments to inform the ﬁnal guideline.

MELANIE SALTZMAN: and then i guess the follow-up would be, in terms of making sure these guidelines are
actually implemented, not only something that physicians can go to, but in a way that you’re making sure that they
actually are looking at these guidelines, is there a plan for doing that? Those current practicing physicians. But also
in med schools, looking at the future physicians in the United States and how they’re being trained.

DR. FRIEDEN: Well, ﬁrst, to be very clear we are not a regulatory agency. So these are guidelines. They are
recommendations. States, the national governors’ association, health care systems, insurers may look to these
guidelines, when they implement policies within their own jurisdictions or institutions but what our role is to
provide the best available science to try to improve the care of patients who are suffering from chronic pain which
is a very challenging situation for patients to have to live with and a very challenging condition for physicians to
treat.

MELANIE SALTZMAN: Thank you.
   https://www.cdc.gov/media/releases/2016/t0315-prescribing-opioids-guidelines.html                                                         4/11
DR.6/25/2019
     FRIEDEN:Case: 1:17-md-02804-DAP
               We also, iTranscript
                          will say,fordid work Doc
                                       CDC Telebriefing: #: 1934-1
                                                  withGuideline
                                                         others        Filed: Opioids
                                                                for Prescribing
                                                                 to develop     a07/22/19     6for
                                                                                      for Chronic
                                                                                  checklist      of  12.
                                                                                                  Pain     PageID
                                                                                                       | CDC          #: 98913
                                                                                                             Online Newsroom
                                                                                                   prescribing      opiates  | CDC
                                                                                                                             for chronic
pain. This is for primary care providers. And this and other tools will be part of the rollout process to be able to
empower physicians to have this information at their ﬁngertips.

MELANIE SALTZMAN: So, it’s a suggestion for the guidelines, but not something that’s going to be a requirement
for physicians to follow?

DR. FRIEDEN: CDC does not regulate the practice of medicine.

MELANIE SALTZMAN: okay. Thank you so much.

OPERATOR: the next question is from Dan Childs with ABC News. Your line is open.

DAN CHILDS: Thank you very much for taking my question. I have one question and a quick follow-up. The
question I have is we have pharmaceutical companies essentially manufacturers being called out speciﬁcally in a
JAMA editorial having to do with these new guidelines. My question is, what part, , did pharmaceutical companies
play here, if any, as a stakeholder in developing these guidelines? and what is the responsibility going forward,
seeing as there are many who believe that they hold a great deal of responsibility in terms of the expanded use of
these drugs for those with chronic pain?

DR. FRIEDEN: So, we exercised very stringent conﬂict of interest policy, whereby we did not involve in the drafting
of the guidelines anyone who had a conﬂict of interest with pharmaceutical industry or other actors in this topic.
We certainly read and considered all comments received, regardless of where those were from, including some
groups that are part of or associated with the pharmaceutical industry. I think we can take a step back and say that
pain in general, and chronic pain speciﬁcally, is a very challenging condition to treat. And for many years, status of
medical practice in the U.S.was such that pain was not adequately addressed. And there are still patients whose
pain is not adequately addressed. The challenge is when we generalize that situation to chronic pain in which
opioids are of unproven beneﬁt, we can get into really big problems. Because these medicines are so addictive and
they are so lethal. I think some of the things, the pharmaceutical industry has done include formulations which
make it harder to melt down and shoot up these drugs. I do think it’s important to be clear that these formulations
which are referred to as abuse deterrent are no less addictive. And unfortunately, no medication has yet been
discovered that can separate the pain relieving efﬁcacy of an opioid from the addictive nature of an opioid. And that
would be a really great thing, if a company can come up with that because then you would have an effective pain
relief medication that is signiﬁcantly less addictive than heroin. Right now, we don’t have that. And in the interim, i
think it will just be very important and one of the things we heard from physicians was they wanted guidelines that
were clearly non-conﬂicted, and that’s what these are.

DAN CHILDS: The one follow-up that I have, is there any clue as to what proportion of 250 million prescriptions
per year are going to those with chronic pain? i.e., not those who are cancer patients or those who are taking them
to palliative care.

DR. FRIEDEN: let me turn this over to Dr.Deborah Dowell. Dr. Dowell is the lead author of the guideline and spent
an enormous amount of work probably understands the literature on this topic better than anyone alive..

DR.DEBORAH DOWELL: so, in answer to your question, the literature supports that a minority of patients
receiving opioids are receiving them for chronic, for long-term use for chronic pain, about 5 percent. However,
when   you look at the amount prescribed in terms of days, duration, for a majority of amount of opioids prescribed,
  https://www.cdc.gov/media/releases/2016/t0315-prescribing-opioids-guidelines.html                             5/11
  6/25/2019
about       Case:They
       70 percent. 1:17-md-02804-DAP
                       also                      Doc Guideline
                        Transcript for CDC Telebriefing: #: 1934-1
                             account for a disproportionate–          Filed:
                                                               for Prescribing
                                                                         none   07/22/19
                                                                               Opioids
                                                                                 of the        7 of
                                                                                       for Chronic
                                                                                           adverse    12.
                                                                                                   Pain     PageID
                                                                                                        | CDC
                                                                                                      effects          #: to
                                                                                                                          98914
                                                                                                              Online Newsroom
                                                                                                                related       | CDC
                                                                                                                             opioids. One
study national VA. Sample found that more than 70 percent of patients dying of opioid-related overdose were
prescribed opioid were being treated for chronic pain conditions. In addition, there’s evidence patients who
develop opioid use disorder, were prescribed opiods a proportionate amount of them are chronic pain.

DAN CHILDS: About 5% of patients accounting for 70% of these prescriptions?

DR.DEBORAH DOWELL: Yes, some studies have found that.

DR. FRIEDEN: And this is one of the reasons why we have also addressed use of opioids to treat acute pain.
Because most of the treatment– most of the patients who go on to chronic pain syndrome, start with an acute pain
situation. Next question, please.

OPERATOR: The next question is from Robert Lowes with Medscape medical news. Your line is open.

ROBERT LOWES: Thank you for taking my call. Dr.Frieden, there were strenuous objections to the initial set of 12
recommendations as regards to speciﬁc numbers on, for instance, you know, a dose threshold. 90 MME being
something you should avoid. And the number of days that were suggested for the duration and several medical
societies felt that they didn’t want any speciﬁc numbers because there wasn’t enough evidence. Yet, the ﬁnal
recommendations pretty much preserve what was in the initial ones in regards to these speciﬁc numbers. So what
went into the thinking, you had objections to numbers that doctors felt might constrain them and weren’t evidence-
based.

DR. FRIEDEN: i will say we did get a lot of comments in. We took them all seriously. We found many of them helpful.
And between the earlier released version and the ﬁnal, there are a number of reﬁnements in the approach. That
includes the two areas that you mention, involving lowest effective dose and shortest duration. We have provided a
range, rather than a ﬁxed number I’ll let Dr. Deb Houry who is the Director of The National Center for Injury
Prevention And Control in which this work resides comment further. Dr. Houry.

DR. DEBORAH HOURY: Thank you. There were comments on both sides. We have a lot of organizations who
actually thought we should have lower dosages or shorter durations. So there was a balance of both shorter and
longer. With regards to the actual dosage, we tried to apply more nuances. You’ll see that in the full document. At
50 MME we actually carefully reassess the patient’s beneﬁts and risks. At 90 MME, we say there’s a clear cap but
you should justify the decision. And then it talks about referring to a pain specialist. When you do look at a lot of the
emerging evidence, though, there is evidence of increase overdose as the dose escalates. Providers did want a
number in general to guide their practice. Again, this is guidelines not regulatory, so this will help physicians in their
daily practices to determine what safe dosages. And this is about initiation of opioids for those doses. We feel
strongly that you do not initiate an opioid naive patient on a high level of opioid because of the substantial risk of
overdose. As Dr.Frieden mentioned, we did provide a range and that was modiﬁcation we did after the feedback for
the acute pain recommendation. We think it’s important that physicians to always use the shortest course possible
but did want to allow more ﬂexibility in that number.

DR. FRIEDEN: Thank you. Next question.

OPERATOR: The next question is Randall Pearson with Reuters. Your line is open.


   https://www.cdc.gov/media/releases/2016/t0315-prescribing-opioids-guidelines.html                                                  6/11
  6/25/2019
RANDALL      Case: 1:17-md-02804-DAP
            PEARSON:  HiTranscript
                         there, forDr.CDC
                                       Frieden. Doc
                                          Telebriefing: #: just
                                                            1934-1
                                                        Guideline
                                                    I was                Filed: Opioids
                                                                  for Prescribing
                                                                  wondering       07/22/19
                                                                                  your          8 of
                                                                                        for Chronic
                                                                                        thoughts       12.
                                                                                                    Pain     PageID
                                                                                                         | CDC
                                                                                                     about              #:sense
                                                                                                                           98915
                                                                                                               Online Newsroom
                                                                                                              common           | CDC
                                                                                                                                  among the
federal agencies, the FDA and CDC. You mentioned that the prescriptions have quadrupled since 1999, leading to
165,000 overdoses. But should the CDC and FDA exercised more common sense in recent years. Have you left the
cows out the barn? When you might have been able to constrain the situation earlier. For example, Hydro, an
extremely potent opioid was approved by the FDA fairly recently despite what we know about the heroin
addictions throughout America and their links to opioids. Has the federal government really lapsed in trying to be
more proactive earlier to prevent this situation from being at this incredible degree?

DR. FRIEDEN: Unfortunately, i think there’s no quick ﬁx for the opioid epidemic. We’re seeing a situation in which a
large number of people in this country are already addicted or dependent. And that involves both prescription
opioids, and illicit opioids, heroin and illegally produced Fentanyl among other products. And the challenge really is
turning around our approach to pain management. Understanding that the best treatment isn’t always the one that
provides the most immediate relief. It’s the one that provides the best relief for the longest period of time. That’s
something that i think as a medical profession and as a society we had insufﬁcient recognition of. And we’re paying
the price. Far too many families and individuals are suffering or dying for that reason. So, we can always look back
and say something could have been done sooner or differently. Our focus right now is moving forward. What can
we do to protect as many people as possible? And prevent as many overdoses, deaths and people who become
dependent and addicted to opioids as possible going forward.

RANDALL PEARSON: Shouldn’t there be more stringent requirements in the future at the FDA, since we have this
ﬂood of drugs in the market which we can’t control? Should the FDA be a little more vigilant or restrictive itself in
putting yet more products on the market?

TOM FRIEDEN: I think you’d have to address that question to the FDA. The FDA by law have to basically make
decisions based on whether medications are safe and effective and equivalent to medications on the market. There
may not be a regulatory method for them to do what you’re suggesting, and whether that would be advisable or not
I can’t comment. Next question, please.

OPERATOR the next question from Mehmat Oz with “The Dr.Oz Show.” Your line is open. Dr.Oz, your line is open
for your question. Your line is open.

TOM FRIEDEN: shall we go on to the next question?

OPERATOR: Moving on to the next question. It’s from Kimberly Leonard with “U.S. News and World Reports.” Your
line is open, ma’am.

KIMBERLY LEONARD: yes, hi, thank you for taking my call. One of the items here on the guidance talks about using
a urine test to detect whether patients already have signs of opioids in them. And obviously that’s to tell whether
they might be selling them and not using them or if they already have it detected there. My question is this
something that physician, are already doing, or is this something that’s new? And if opioids are detected, would a
doctor then have enough information to say we’re not going to be prescribing this?

TOM FRIEDEN: So, I will turn this over to Dr.Dowell.

KIMBERLY LEONARD: okay.


   https://www.cdc.gov/media/releases/2016/t0315-prescribing-opioids-guidelines.html                                                   7/11
  6/25/2019
DR.DEBORAH  Case: 1:17-md-02804-DAP
              DOWELL:    This CDC guideline     DocisGuideline
                       Transcript for CDC Telebriefing: #:certainly
                                                            1934-1     Filed:
                                                                for Prescribing
                                                                     not        07/22/19
                                                                           theOpioids
                                                                                ﬁrst          9 of
                                                                                      for Chronic
                                                                                     guideline     to12.
                                                                                                  Pain     PageID
                                                                                                       | CDC          #:this.
                                                                                                                          98916
                                                                                                             Online Newsroom
                                                                                                       recommend              | CDC
                                                                                                                              That  being said,
we did ﬁnd surveys that many physicians do not use urine drug testing in making decisions about prescribing
opioids. And in addition to that, a couple of studies have found that physicians misinterpret results on urine drug
testing. Urine drug tests can’t tell you everything; they can tell you whether in many situations whether a
prescribed drug is present or whether other drugs are present. They can’t tell you anything about the dose. And the
guidelines does provide further interpretations for these tests.

KIMBERLY LEONARD: okay, thank you.

TOM FRIEDEN: Next question, please.

OPERATOR: the next question is from Mehmat Oz with “The Dr.Oz Show.” Your line is open.

TOM FRIEDEN: If you’re speaking, we can’t hear you.

MEHMAT OZ: Hello.

TOM FRIEDEN: Yes, go ahead.

MEHMAT OZ: oh, good. Sorry about that. For the average patient who hears all of this news, when they’re offered
an opiate by their physician, what would you recommend they push back on? How would they phrase and articulate
their medicines to take an opiate?

TOM FRIEDEN: That’s a great question, I’ll startand i would ask Dr.Dowell to continue. I would ﬁrst say, is this
necessary, what are the alternatives, what are the risks, what’s the dosage? And can you guarantee me that this is
going to relieve my pain and not risk getting me addicted. Dr.Dowell.

DR.DEBORAH DOWELL: I would agree with that 100%. I think the important questions are, you know, is this
necessary, what are the alternatives? What are the risks? What are the beneﬁts? And how long do you anticipate
that I’m going to be taking this? One more i would add is, what do we hope to accomplish? What should be our goals
in using this medication and how are you going to know that we accomplish them.

DEB HOURY: And this is Deb Houry just to add, the ﬁrst principle of our guidelines are about use non-
pharmacological therapy and non-opiate pharmacological therapy. All of us speaking today are physicians who
worked in the ﬁeld. And many of us didn’t have a lot experience of what are the non-opioid alternatives. I think
patients need to ask their doctors what the non-opioid alternatives are and have a better understanding of how
those can impact their pain directly.

MEHMAT OZ: As a quick follow up, Tom you articulate in your New England Journal piece about prescribing an
opiate per person in America. What’s the goal? There’s a discrepancy from state to state that’s quite dramatic? Any
idea what you hope to see in three years, ﬁve years?

TOM FRIEDEN: Really what we hope to see is fewer deaths from opiates all sorts of opiates. Both legal and illegal.
That’s the bottom line here. What we also hope to see in a more immediate basis is that some of the higher and
more dangerous doses of opiates will be used much less. I was really stunned at the study that shows that 1 out of
32 patients died in 21/2 years from the highest doses of opiates. So understanding these are really dangerous
medications which carry the risk of addiction and death. And that we would at least begin to see that prescriptions
that are written are safer, or less risky, at least. Ultimately, we want to see the number of deaths come down. It’s
   https://www.cdc.gov/media/releases/2016/t0315-prescribing-opioids-guidelines.html                                                    8/11
just6/25/2019 Case:
      a horriﬁc       1:17-md-02804-DAP
                fact that we’re seeing it continue Doc #:
                           Transcript for CDC Telebriefing:
                                                            to1934-1
                                                            Guideline
                                                               increase.    Filed:
                                                                      for Prescribing
                                                                             It’s one 07/22/19
                                                                                      Opioids
                                                                                        of the       10few
                                                                                              for Chronic
                                                                                                  very    of 12.
                                                                                                          Pain | CDCPageID
                                                                                                               trends   in this#:country
                                                                                                                                  98917
                                                                                                                     Online Newsroom | CDC
                                                                                                                                           where
health is getting worse. It’s one of the very few things where we’re seeing increase in mortality rates; and we’re
seeing it across the entire lifespan – from neonatal abstinent syndrome to kids who get hooked on an opiate
because of a sports injury and end up getting Hepatitis C or HIV because they switched to injecting drugs to elderly
who have increased risk of falls because they’re on opiates. It’s a terrible problem. It’s going to involve all of us
getting into a more appropriate place when we think about managing pain.

MEHMAT OZ: thank you.

TOM FRIEDEN: thank you.

OPERATOR: Our next question is from Charles Lane with “The Washington Post.” Your line is open.

CHARLES LANE: Thank you. Listening to you speak about these prescription drugs, I’m just struck at the change in
tone, the depiction of these as Dr.Frieden’s own words as a dangerous quote/unquote drug. It’s far, far from what
we’re being told about them 15 or 20 years ago when they came on the market. So, I’m wondering the following, a
lot of people in the ﬁeld believe there’s pressure, has been pressure on physicians to prescribe these, because they
would get bad reviews on Yelp or because the facilities that they work for would be thought of as neglecting pain,
as the famous, you know, vital sign. How will these guidelines, and how should they affect that dynamic where
there’s been so much pressure on physicians, sort of when in doubt prescribe. How are you going to affect that
dynamic?

TOM FRIEDEN: When i went to medical school we had exactly one lecture on pain. And in that lecture the
professor said if you give an opiate to a patient in pain they will not get addicted. He was completely wrong. But a
whole generation of physicians went through training hearing that. And also recognizing that pain was and
continues to be undertreated in some situations. All of us have a role to play. I don’t think doctors alone, I don’t
think patients alone, can get us to a better place. When we’ve interviewed patients, we’ve heard consistently that
they’re concerned about the addictiveness and danger of opiates. When we’ve interviewed doctors, we’ve heard
that they’re concerned that patients may be rating them poorly if they don’t provide pain medications or opiates.
And we know that sometimes, a few highly vocal patients may change the perception of a situation for a doctor.
That’s why we’re emphasizing both the need to be careful with prescription of opiates and the need to scale up
treatment of addiction which is a serious disease for which there are medications such as Buprenorphine and
Methadone which do improve outcomes and that’s part of this as well. I don’t think there is a quick ﬁx, but I do think
the solution is going to involve more than just doctors and more than just patients to address the real concerns that
people have about the use and risks of opiates. Next question.

OPERATOR: Next question is from Sabrina Tavernise with “The New York Times.” Your line is open.

SABRINA TAVERNISE: Hi, thanks for taking the question. Dr.Frieden, I know these are your guidelines and
nonbinding but it sort of sounds like you’re saying in here and kind of the federal government is saying that the risks
outweigh the beneﬁts of these drugs for most patients. Is that– would you say that?

TOM FRIEDEN: I think, again, this is not a cookbook. Clinical care is both a science and an art. And there are some
patients for whom currently on opiates or potentially in severe pain for whom they may be appropriate. But for the
majority of patients, the risks will outweigh the beneﬁts for chronic pain. For the vast majority of patients.

KATHY      HARBEN: We have time for one more question.
  https://www.cdc.gov/media/releases/2016/t0315-prescribing-opioids-guidelines.html                                                           9/11
  6/25/2019 Case: 1:17-md-02804-DAP             Doc #:
                        Transcript for CDC Telebriefing:   1934-1
                                                         Guideline       Filed:
                                                                   for Prescribing 07/22/19      11 Pain
                                                                                                      of 12.
                                                                                                          | CDCPageID     #: 98918
OPERATOR:    It comes from  Sarah Karlin-Smith           with   Politico.    YourOpioids  for Chronic
                                                                                    line is  open.              Online Newsroom | CDC


SARAH KARLIN-SMITH hi, is this Sarah. Thank you for taking the call. At the end of these guidelines, my question is
directed to Secretary Burwell or someone at HHS if they are still on the call. You guys mentioned the need to work
with other areas of federal government on policy that could make these guidelines more practical for doctors to
follow. Are there any plans like for CMS or other agencies within the federal government to change how you guys
cover non-opioid treatments to make it easy for physicians to offer patients non-opioid options?

TOM FRIEDEN: I don’t know that others from HHS are on the call at present.. I know we’ve had a series of
discussions with CMS and others parts of HHS about this issue. We’ve heard the concern from both physicians and
patient groups, and we’re encouraged by the progress that we’ve seen in a variety of insurance programs of
expanding the scope of the non-pharmacological treatments provided. Dr.Houry, do you want to say anything
about this?

DEB HOURY: I think these are just the next steps. I think by showing CDC’s views, using the best available science
on the need for non-opioids, the need for safe prescribing this will help inform a lot of future changes. And, as Dr.
Frieden mentioned, we’ve been working closely with HHS agencies to really have a collaborative approach in
making sure that we are able to provide this.

TOM FRIEDEN: I’ll close the telebrieﬁng with a ﬁnal comment about the guideline and its potential to reduce the
epidemic we’re living through of opioid overdose deaths. The prescription overdose epidemic is doctor-driven. It
can be reversed in part by doctor’s actions. The guideline doesn’t replace clinical judgment but it does provide a
clear balance that has been missing. Prescription opioid overdose deaths can be prevented by improving
prescribing practices. We can protect people from becoming addicted to opioids and clinicians are key to helping to
reverse the epidemic. The management of chronic pain is both an art and a science. But the science of opioids for
chronic pain is clear. For the vast majority of patients, the known, serious and all too often fatal risks far outweigh
the unproven and transient beneﬁts and there are safer alternatives. In medicine we take an oath to above all do no
harm. And for chronic pain, a doctor has to go to a pretty high bar to see that the likelihood of doing harm will not
be greater than the likelihood of doing good. At heart of the guidelines is a conversation between clinicians and
patients about the best, safest treatment for chronic pain with a full understanding of risks and beneﬁts. Thank you
very much.

KATHY HARBEN: Thank you, Dr.Frieden. And also thank you to Dr.Houry and Dr.Dowell for joining us today. As
well as Secretary Burwell. Thank you also, reporters, for follow-up questions, please call 404-639-3286. Or e-mail
us@media@cdc.gov.

OPERATOR: that concludes today’s conference. We thank you for participating. You may disconnect. And have a
great rest of your day.

                                                                            ###
                     U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES (http://www.hhs.gov/)



  Connect with CDC Media

         Subscribe to Media RSS Feeds
   https://www.cdc.gov/media/releases/2016/t0315-prescribing-opioids-guidelines.html                                                    10/11
  6/25/2019Subscribe
           Case:     toTranscript
                        CDC Media for CDCe-mail
                  1:17-md-02804-DAP            Doc  (https://service.govdelivery.com/service/subscribe.html?
                                          Telebriefing: #: 1934-1
                                                        Guideline       Filed: Opioids
                                                                  for Prescribing 07/22/19    12 Pain
                                                                                       for Chronic of 12.
                                                                                                       | CDCPageID     #: 98919
                                                                                                             Online Newsroom | CDC
           code=USCDC_1_3&login=&origin=https://www.cdc.gov/media/index.html)
       Syndicate Media on Your Site (http://tools.cdc.gov/syndication/)


 CDC Quick Links


 Data & Statistics

 Freedom of Information Act Ofﬁce

 Public Health Image Library (PHIL) (http://phil.cdc.gov)




 File Formats Help:
 How do I view different file formats (PDF, DOC, PPT, MPEG) on this site?
 (https://www.cdc.gov/Other/plugins/)

 (https://www.cdc.gov/Other/plugins/#wmv)

Page last reviewed: March 16, 2016 (archived document)
Content source: Centers for Disease Control and Prevention (/)




  https://www.cdc.gov/media/releases/2016/t0315-prescribing-opioids-guidelines.html                                                  11/11
